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6
                                UNITED STATES DISTRICT COURT
7                              EASTERN DISTRICT OF CALIFORNIA
8
      UNITED STATES OF AMERICA                                  1:15-CR-00272-DAD-BAM-3
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                        Plaintiff,
10                                                              ORDER GRANTING DEFENDANT’S
                                                                REQUEST FOR SELF-
11    vs.                                                       REPRESENTATION AND WAIVER
12
                                                                OF RIGHT TO COUNSEL
      JOSEPH WAYNE ATTAWAY, II
13              Defendant.
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            On September 12, 2016, Defendant Joseph Wayne Attaway, II (“Defendant” ) moved this
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     Court for an order allowing him to representing himself and discharge his counsel.
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            A criminal defendant is entitled to waive his Sixth Amendment right to counsel. See Faretta
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     v. California, 422 U.S. 806, 807 (1975). A waiver of the right to counsel must be knowing,
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     intelligent, and unequivocal. See United States v. Arlt, 41 F.3d 516, 519–20 (9th Cir. 1994); United
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     States v. Balough, 820 F.2d 1485, 1487 (9th Cir. 1987). A waiver of counsel will be considered
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     knowing and intelligent only if the defendant is made aware of (1) the nature of the charges against
23
     him; (2) the possible penalties; and (3) the dangers and disadvantages of self-representation, so that
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     the record will establish that “he knows what he is doing and his choice is made with eyes open.”
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     Balough, 820 F.2d at 1487 (citing Faretta, 422 U.S. at 835, 95 S.Ct. 2525); United States v. Van

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     Krieken, 39 F.3d 227, 229 (9th Cir. 1994); U.S. v. Farhad, 190 F.3d 1097, 1099–100 (9th Cir. 1999).

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1             The Court held a hearing on September 12, 2016. The Court questioned Defendant about his
2    desire to represent himself and the hazards and disadvantages of self-representation. The Court
3    advised the Defendant of the charges against him and the maxinum penalties he faces. The Court
4    informed him that sentences could be served consecutively. The Court discussed the Federal Rules
5    of Evidence and the Federal Rules of Criminal Procedure, and how he would be bound by those
6    rules. The Court confirmed that the Defendant was not under the influence of any drug, and that his
7    only medication did not affect his mental abilities. Defendant responded intelliglently to all
8    questions.
9             The Court expressed its own concern with Defendant’s self-representation. Defendant
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     nevertheless repeatedly insisted he wanted to represent himself and understood the consequences of
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     that decision.
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              The Court finds that Defendant has made a knowing, intelligent, and unequivocal waiver of
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     his Sixth Amendment right to counsel. Accordingly, his request to represent himself is GRANTED.
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     The Federal Public Defender is DISCHARGED from further representation.
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              Janet Bateman from the Federal Public Defender shall promptly inform Mr. Attaway of this
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     order.
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18   IT IS SO ORDERED.

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        Dated:        September 12, 2016                       /s/
20                                                     UNITED STATES MAGISTRATE JUDGE
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